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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

V.                                                   CRIMINAL NO.: 2:10CR160-SA-JMV-23

AIREN PAIGE WILLIAMS                                       DEFENDANT


                                    ORDER ON MOTION

       Defendant filed a Motion [895] requesting a copy of the Judgment entered in her case. That

request is GRANTED. Enclosed with this Order is a copy of the Judgment entered against Airen

Paige Williams on December 31, 2012.

       SO ORDERED, this the 31st day of March, 2016.



                                                    /s/ Sharion Aycock
                                                   U.S. DISTRICT JUDGE
